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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-24229-CIV-SMITH

 PNC BANK, NA,

        Plaintiff,
 vs.

 COLMENARES BROTHERS, LLC, et al.,

        Defendant.
                                                   /

       ORDER AFFIRMING AND ADOPTING REPORT OF MAGISTRATE JUDGE

        This matter is before the Court upon the Magistrate Judge’s Report and Recommendation

 to District Judge [DE 51], in which the Magistrate Judge recommends that Plaintiff’s Motion for

 Attorneys’ Fees and Costs and Recommendation Following Show Cause Hearing [DE 47] be

 GRANTED and that Plaintiff be awarded its reasonable attorney’s fees in the amount of $2,630.00.

 No objections have been filed. Having reviewed, de novo, the Magistrate Judge’s Report and

 Recommendation to District Judge and the record, and given that there are no objections, it is

 ORDERED that:

        1)      The Report and Recommendation to District Judge [DE 51] is AFFIRMED and

 ADOPTED and incorporated by reference into this Court’s Order.

        2)      Plaintiff’s Motion for Attorneys’ Fees and Costs and Recommendation Following

 Show Cause Hearing [DE 47] is GRANTED. Plaintiff is awarded $2,630.00 in attorney’s fees.

        DONE and ORDERED in Fort Lauderdale, Florida, this 17th day of January 2024.




 cc: Counsel of record
